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                                 United States District Court
                                 Northern District of Indiana
                                     Hammond Division

 UNITED STATES OF AMERICA

                       v.                                          Case No. 2:16-CR-22 JVB

 ELISSA SALAZAR



                                            ORDER

        This matter is before the Court on the findings and recommendations of the Magistrate

 Judge filed on August 24, 2016, on a plea of guilty by Defendant Elissa Salazar (DE 66). No

 objections have been filed to Magistrate Judge Martin’s findings and recommendations.

 Accordingly, the Court now ADOPTS those findings and recommendations, ACCEPTS the

 guilty plea of Defendant Elissa Salazar, and FINDS the Defendant guilty of the offenses charged

 in Count 1 of the indictment.


        SO ORDERED on September 19, 2016.

                                                    s/ Joseph S. Van Bokkelen
                                                    Joseph S. Van Bokkelen
                                                    United States District Judge
